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                                                                                        Mar 23 2021
                                                                                   U.S. DISTRICT COURT
                                                                                   Northern District of WV
   ! $& $)#*,) '*(!+$
 !& 
                                                                              1:21-CV-42 (Keeley)
                        (?4<AG<99                         !-!$+!'&&' 333333333
                                                                
         I

 )*,!!&%&!+/'%(&/                                             

                        898A74AG 


        898A74AG )*,! !A78@A<GL B@C4AL P898A74AGQ BE P)!Q 5L 4A7 G;EBH:; <GF

HA78EF<:A876BHAF8?;8E85L9<?8FG;<F&BG<68B9)8@BI4?4A7E8@BI8FG;845BI8 8AG<G?8746G<BA

9EB@ G;8 <E6H<G BHEG B9 4EE<FBA BHAGL .8FG -<E:<A<4 <I<? 6G<BA &B     GB G;8

,A<G87*G4G8F<FGE<6GBHEG9BEG;8&BEG;8EA<FGE<6GB9.8FG-<E:<A<4 !AFHCCBEGB9G;<F&BG<68

B9)8@BI4?898A74AGFG4G8F4F9B??BJF

                             

                'ABE45BHG85EH4EL   <:;?4A7 ?4E>F5HE: BFC<G4?!A6 P(?4<AG<99Q

9<?874*H@@BAF4A7B@C?4<AGG;8PB@C?4<AGQ<AG;8<E6H<GBHEGB9 4EE<FBABHAGL.8FG

-<E:<A<4<AG;846G<BAFGL?87     "$"(!)+( %)& *" $,  $#$ *-%#&$- 

<I<? 6G<BA &B              +;8 B@C?4<AG J;<6; 6B@CE<F8F G;8 8AG<E8GL B9 4?? CEB68FF

C?847<A:F4A7BE78EFF8EI87HCBA898A74AG<F4GG46;874FK;<5<GCHEFH4AGGB, *  N

 4 

               +;8.8FG-<E:<A<4*86E8G4ELB9*G4G84668CG87F8EI<68B9G;8B@C?4<AGBA58;4?9

B9)!BA85EH4EL  +;HFG;<F&BG<68B9)8@BI4?<F9<?87J<G;<A 74LF49G8EE868<CG

5L)!B9(?4<AG<99RF<A<G<4?C?847<A:4A7<FG;8E89BE8G<@8?L9<?87HA78E, *  N 5 
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              898A74AG)!E868<I8746BCLB9G;8B@C?4<AG5LC8EFBA4?78?<I8ELBA85EH4EL

  +;HFG;<F&BG<68B9)8@BI4?<F9<?87J<G;<A 74LF49G8EE868<CG5L)!B9(?4<AG<99RF

<A<G<4?C?847<A:4A7<FG;8E89BE8G<@8?L9<?87HA78E, *  N 5 

                8E8E8@BI4?<F4CCEBCE<4G854F87HCBA7<I8EF<GL=HE<F7<6G<BA +;<F<F46<I<?46G<BA

BI8EJ;<6;G;<FBHEG;4FBE<:<A4?=HE<F7<6G<BACHEFH4AGGB, *  N 44A7<FBA8G;4G

@4L58E8@BI87GBG;<FBHEG5L898A74AGCHEFH4AGGB, *  N  4<AG;4G<G<F46<I<?

46G<BA 58GJ88A 6<G<M8AF B9 7<998E8AG FG4G8F 4A7 G;8 @4GG8E <A 6BAGEBI8EFL 8K6887F        

8K6?HF<I8B9<AG8E8FG4A76BFGF 

              )! <FFH87 GB (?4<AG<99 G;8 9B??BJ<A: &BA (EB9<G 'E:4A<M4G<BA %4A4:8@8AG

$<45<?<GL (B?<6<8F G;4G 4E8 G;8 FH5=86G B9 G;<F 786?4E4GBEL =H7:@8AG 46G<BA   &BA (EB9<G

'E:4A<M4G<BA %4A4:8@8AG $<45<?<GL (B?<6L &B  & ( 9BE G;8 C8E<B7 H:HFG            GB

H:HFG  4A7&BA (EB9<G'E:4A<M4G<BA%4A4:8@8AG$<45<?<GL(B?<6L&B &((                   

9BEG;8C8E<B7H:HFG  6B??86G<I8?LE898EE87GB;8E8<A4FG;8P(B?<6<8FQ 

              (?4<AG<99F88>F7898AF84A7<A78@A<GL<AFHE4A686BI8E4:8HA78EG;8(B?<6<8FJ<G;

E8FC86GGB4AHA78E?L<A:46G<BAFGL?87($ *#$, "$"(!)+( %)& *" $

<I<?6G<BA&B    9<?87<AG;8<E6H<GBHEGB9 4EE<FBABHAGL.8FG-<E:<A<4G;8

P,A78E?L<A:6G<BAQ +;86B@C?4<AG<AG;8,A78E?L<A:6G<BA<F4GG46;874FK;<5<G 

              !AG;<F46G<BA(?4<AG<994??8:8FG;4G<G<F8AG<G?87GB<AFHE4A686BI8E4:858A89<GFHA78E

G;8(B?<6<8F<A6BAA86G<BAJ<G;6?4<@F4FF8EG874:4<AFG<G<AG;8,A78E?L<A:6G<BA 

              (?4<AG<99F88>F74@4:8F54F87HCBA6?4<@F9BE786?4E4GBELE8?<89HA78EG;8(B?<6<8F

4A75E846;B96BAGE46G (?4<AG<994?FBF88>F74@4:8F9BEBHG B9 CB6>8G8KC8AF8F4GGBEA8LFR988F

4A78KC8AF8F<A6HEE874A774@4:8F9BE4AABL4A684A7<A6BAI8A<8A684FC8E@<GG875L -))

$,** (# () .-4 *  7  4A7<GFCEB:8AL 4F87BA




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G;89BE8:B<A:G;8(?4<AG<99F88>F 4786?4E4GBEL=H7:@8AGG;4GG;8898A74AGPBJ8F  !4

7HGL GB 7898A7 4A7 4 7HGL B9 <A78@A<9<64G<BA 9BE 4?? 6?4<@F 4FF8EG87 4:4<AFG  ! <A G;8

1,A78E?L<A:B@C?4<AG2Q74@4:8F<A6?H7<A:5HGABG?<@<G87GB@BA8G4EL?BFF8F4AABL4A68

<A6BAI8A<8A684::E8:4G<BA4A74GGBEA8LFR988F4A78KC8AF84A7FH6;BG;8E9HEG;8EE8?<894F

@4L58=HFG4A7CEBC8E K  

                  2    

                  <I<?46G<BAF6B@@8A687<A4FG4G86BHEGBI8EJ;<6;9878E4?7<FGE<6G6BHEGF;4I8

BE<:<A4?=HE<F7<6G<BA@4L58E8@BI875L47898A74AGGBG;89878E4?7<FGE<6G6BHEG9BEG;87<FGE<6G

4A77<I<F<BA8@5E46<A:G;8C?468J;8E8G;846G<BA<FC8A7<A: , *  N  4 

                   ,A<G87 *G4G8F <FGE<6G BHEGF ;4I8 BE<:<A4? =HE<F7<6G<BA BI8E 4?? 6<I<? 46G<BAF <A

J;<6;G;8@4GG8E<A6BAGEBI8EFL8K6887FG;8FH@B9                8K6?HF<I8B9<AG8E8FG4A76BFGF4A7

G;87<FCHG8<F58GJ88A6<G<M8AFB97<998E8AGFG4G8F , *  N 4  

                   +;<F46G<BA<FE8@BI45?89EB@G;8<E6H<GBHEGB9 4EE<FBABHAGL.8FG-<E:<A<4

GB G;8 ,A<G87 *G4G8F <FGE<6G BHEG B9 G;8 &BEG;8EA <FGE<6G B9 .8FG -<E:<A<4 BA G;8 54F<F B9

7<I8EF<GLFH5=86G@4GG8E=HE<F7<6G<BACHEFH4AGGB, *  N  4 4A7, *  N  4

5864HF8G;846G<BA<F58GJ88A6<G<M8AFB97<998E8AG*G4G8F4A7G;8@4GG8E<A6BAGEBI8EFL8K6?HF<I8

B9<AG8E8FG4A76BFGF8K6887FG;8FH@B9             , *  N  5 

                  898A74AG;8E85L8K8E6<F8F<GFE<:;GFHA78E, *  N  *)' GBE8@BI8

G;<F46G<BA9EB@G;8<E6H<GBHEGB9 4EE<FBABHAGL.8FG-<E:<A<4<AJ;<6;G;846G<BA<FABJ

C8A7<A:GBG;8,A<G87*G4G8F<FGE<6GBHEGB9G;8&BEG;8EA<FGE<6GB9.8FG-<E:<A<4 

       %/"+,%-0(# %-%1"',$%)

                  (?4<AG<994??8:8F<AG;8B@C?4<AGG;4G(?4<AG<99<F4.8FG-<E:<A<46BECBE4G<BAJ<G;

4CE<A6<C4?C?468B95HF<A8FF<A?4E>F5HE:.8FG-<E:<A<4   !<F4HG;BE<M87GB6BA7H6G5HF<A8FF




                                                         
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<A.8FG-<E:<A<44A746GH4??L6BA7H6GF5HF<A8FF<A 4EE<FBABHAGL.8FG-<E:<A<4K  B@C? 

O 

                  BECHECBF8FB97<I8EF<GL=HE<F7<6G<BA46BECBE4G<BA<F46<G<M8AB9G;8FG4G8<AJ;<6;

<G <F <A6BECBE4G87 4A7 B9 G;8 FG4G8 J;8E8 <G ;4F <GF CE<A6<C4? C?468 B9 5HF<A8FF   , *   N

  6  

                  )! <F 4 9BE8<:A 6BECBE4G<BA BE:4A<M87 HA78E G;8 ?4JF B9 G;8 *G4G8 B9 &8J

  4@CF;<E8J<G;<GFCE<A6<C4?C?468B95HF<A8FF4G4FG(468F8EEL)B47G?4AG48BE:<4 

                  F(?4<AG<994A7898A74AG4E8ABG6<G<M8AFB9G;8F4@8FG4G86B@C?8G87<I8EF<GLB9

6<G<M8AF;<C8K<FGF58GJ88AG;8C4EG<8FHA78E, *  N 4 

          $" &(.'-%' ('-+(/"+,0"*.%+"&"'-%, -%,#%"!

                  !A 477<G<BA GB G;8 E8DH<F<G8 7<I8EF<GL B9 6<G<M8AF;<C G;8 =HE<F7<6G<BA4? 4@BHAG

A868FF4ELGB<AIB>89878E4?FH5=86G@4GG8E=HE<F7<6G<BABAG;854F<FB97<I8EF<GL<F?<>8J<F8F4G<F9<87

<AG;<F64F8 

                  (?4<AG<99F88>F4AHAFC86<9<64@BHAG9EB@898A74AGJ;<6;<A6?H78F74@4:8F9BE

@BA8G4EL ?BFF8F 4AABL4A68 <A6BAI8A<8A68 4::E4I4G<BA 4A7 4GGBEA8LFR 988F 4A7 8KC8AF8F 

(?4<AG<99 4?FB F88>F 786?4E4GBEL E8?<89 G;4G JBH?7 B5?<:4G8 )! GB 7898A7 4A7 BE <A78@A<9L G;8

(?4<AG<99J<G;E8FC86GGBG;8,A78E?L<A:6G<BAHCGBG;8?<@<GFB9BA8B9G;8(B?<6<8F 

                  .;8AG;84@BHAGB974@4:8F4C?4<AG<99F88>F<AHA6?84E9BE8K4@C?85L94<?<A:GB

C?8474FC86<9<67B??4E4@BHAG<AG;86B@C?4<AGG;8AG;87898A74AG@HFG8FG45?<F;G;8=HE<F7<6G<BA4?

4@BHAG5L4CE8CBA78E4A68B9G;88I<78A68 %#), ((, )*)).$                   

.$4G&  . -4 '6G            )")% $*%$, %(%*%(( * 

*HCC 7*  . -4   

                  +;8 BHEG P@4L ?BB> GB G;8 8AG<E8 E86BE7 589BE8 <G 4A7 @4>8 4A <A78C8A78AG

8I4?H4G<BA 4F GB J;8G;8E BE ABG G;8 =HE<F7<6G<BA4? 4@BHAGQ <F F4G<F9<87    %,($ ,  


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$+)*( ) $     .$   &  . -4 CE<?           <AG8EA4?6<G4G<BAFB@<GG87 BE

8K4@C?8G;86BHEG@4L6BAF<78E

               G;8GLC84A78KG8AGB9 G;8C?4<AG<99F<A=HE<8F4A7 G;8 CBFF<5?8
               74@4:8F E86BI8E45?8 G;8E89BE8 <A6?H7<A: CHA<G<I8 74@4:8F <9
               4CCEBCE<4G8 +;8 CBFF<5?8 74@4:8F E86BI8E45?8 @4L 58 F;BJA 5L
               G;84@BHAGF4J4E787<ABG;8EF<@<?4E64F8F ABG;8E946GBE9BEG;8
               6BHEGGB6BAF<78EJBH?758G;88KC8AF8FBE?BFF8F<A6HEE875LG;8
               C?4<AG<99 HC GB G;8 74G8 G;8 ABG<68 B9 E8@BI4? J4F 9<?87  +;8
               7898A74AG @4L 4?FB CE8F8AG 8I<78A68 B9 4AL F8GG?8@8AG 78@4A7F
               @478 5L G;8 C?4<AG<99 CE<BE GB E8@BI4? 4?G;BH:; G;8 J8<:;G GB 58
               :<I8AFH6;78@4A7F<F4@4GG8EB97<FCHG84@BA:6BHEGF 

%"%$, $$%,(-%             .$   &  . -4 CE<?           

              46; B9 G;8 (B?<6<8F ;4F 4  @<??<BA ::E8:4G8 $<@<G B9 $<45<?<GL FH5=86G GB 4

    E8G8AG<BA 

             +;8 C?4<AG<99 <A G;8 ,A78E?L<A: 6G<BA 4??8:8F 4:8 7<F6E<@<A4G<BA ;BFG<?8 JBE>

8AI<EBA@8AGE8G4?<4G<BA4A7JEBA:9H?G8E@<A4G<BA4:4<AFG  !4FJ8??4F46?4<@9BE4GBEGB9

BHGE4:8 

             4F87HCBAG;84??8:4G<BAFE4<F874:4<AFGG;8C?4<AG<99<AG;8,A78E?L<A:6G<BAG;8

?<@<GFB9846;B9G;8(B?<6<8F4A7G;84??8:4G<BAFB9G;8B@C?4<AGHCBA<A9BE@4G<BA4A758?<89

7898A74AGRF6BHAF8?58?<8I8F<A:BB794<G;G;4GG;84@BHAG<A6BAGEBI8EFL<AG;<F46G<BA8K6887F

G;8FH@B9        8K6?HF<I8B9<AG8E8FG4A76BFGF  %,($    .$   &  . -4 

CE<?     9<A7<A:6BHAF8?RF:BB794<G;58?<89G;4G4@BHAG<A6BAGEBI8EFL8K688787              

FH99<6<8AGGB8FG45?<F;64F88K6887FG;8=HE<F7<6G<BA4?G;E8F;B?7 

             BEG;89BE8:B<A:E84FBAFG;<FBHEG;4FFH5=86G@4GG8E=HE<F7<6G<BABI8EG;<F@4GG8E

HA78E, *  N 4  

             .E<GG8AABG<68;4F588AF8EI87HCBAG;8(?4<AG<99G;EBH:;G;8<E6BHAF8?4A746BCL

B9G;<F&BG<68B9)8@BI4?J<??589<?87J<G;G;8<E6H<GBHEGB9 4EE<FBABHAGL.8FG-<E:<A<4 




                                                    
   Case 1:21-cv-00042-IMK Document 1 Filed 03/23/21 Page 6 of 7 PageID #: 6




              &BGJ<G;FG4A7<A:G;<FE8@BI4?898A74AG7B8FABGJ4<I84A7FC86<9<64??LE8F8EI8F

4AL4A74??B5=86G<BAF8K68CG<BAFBE7898AF8FGBG;8B@C?4<AG;8E8<A6?H7<A:5HGABG?<@<G87GB

@BI<A:GB;4I8G;<F@4GG8E7<F@<FF87FG4L874A7 BEGE4AF98EE87GB4ABG;8EBHEG 

              898A74AGE8F8EI8FG;8E<:;GGB4@8A7BEFHCC?8@8AGG;<F&BG<68B9)8@BI4?

           898A74AGE8FC86G9H??LE8@BI8FG;<F46G<BAC8A7<A:9BE786<F<BA<AG;8

<E6H<G BHEG B9 4EE<FBA BHAGL .8FG -<E:<A<4 GB G;8 ,A<G87 *G4G8F <FGE<6G BHEG 9BE G;8

&BEG;8EA<FGE<6GB9.8FG-<E:<A<4E8DH8FGG;4GG;<FBHEG4FFH@89H??=HE<F7<6G<BA4A7:E4AGFH6;

9HEG;8EE8?<894FG;<FBHEG788@F=HFG4A74CCEBCE<4G8 



4G87 %4E6;                       )8FC86G9H??LFH5@<GG87



                                            L  F "4E87+H??L
                                                          "4E87+H??L
                                               
                                            ,A<G874A>H<?7<A:
                                             -<E:<A<4*GE84G4FG*H<G8       
                                            ;4E?8FGBA.- 
                                            +8?            
                                            =GH??L95G?4J 6B@

                                              
                                            %<6;48?8?;4:8AFD %
                                            "8AA<98E04?HF><FD 
                                            +)**$)$$(
                                            'A8(8AA(?4M4*H<G8 
                                            &8J/BE>&8J/BE>         
                                            +8?  
                                            @78?;4:8AGE8FF?8E??C 6B@
                                            =M4?HF><GE8FF?8E??C 6B@

                                            %+$)"%(  $#$ *-%#&$-




                                                   
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                                                      

      !;8E85L68EG<9LG;4G4GEH84A76BEE86G6BCLB9G;89BE8:B<A:J4F9<?87J<G;G;8?8E>B9

G;8BHEGHF<A:G;8FLFG8@ &BG<68B9G;<F9<?<A:J<??58F8AGGB4??C4EG<8FI<4E8:H?4E@4<?

GBG;89B??BJ<A:E86<C<8AGF

%L6;4?* *6;H?MFD .-*&B  
45FG4??4A7?8@8AGF0B@A<E(  
 *H@@8EF*GE88G*H<G8    
;4E?8FGBA.- 


%+$)"%(" $*    "$"(!)+( %)& *" $

                                           L  F "4E87+H??L          
                                                        "4E87+H??L
                                         
                                            
                                         ,A<G874A>H<?7<A:
                                          -<E:<A<4*GE84G4FG*H<G8      
                                         ;4E?8FGBA.- 
                                         +8?             
                                         =GH??L95G?4J 6B@
                                           
